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6
                                UNITED STATES DISTRICT COURT
7
                              CENTRAL DISTRICT OF CALIFORNIA
8
      PREETI DOE, 1                                            Case No. 23-cv-10061
9
                       Plaintiff,                              COMPLAINT AND JURY
10                                                             DEMAND
      vs.
11
      ROCHELLE STERLING in her
12    capacity as sole trustee of THE
      STERLING FAMILY TRUST; THE
13    STERLING FAMILY TRUST;
      BEVERLY HILLS PROPERTIES,
14
      LLC; and JAMES SHIN,
15

16                     Defendants.

17

18                                               Introduction

19

20          1
                Preeti has no last name. See infra ¶ 7.
     COMPL. & JURY DEMAND - 1
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1          1.     This is a housing harassment case.

2          2.     The Sterling Family Trust owns an apartment building called the

3    Wilshire Berendo Towers. Beverly Hills Properties manages the building. James

4    Shin was the property manager. Shin sexually harassed Preeti, then a tenant, who

5    now sues to recover for her injuries.

6                                   Jurisdiction & Venue

7          3.     This court has subject-matter jurisdiction over this case under 28

8    U.S.C. § 1331 because of Preeti’s federal Fair Housing Act claim.

9          4.     This court has subject-matter jurisdiction over Preeti’s remaining

10   claims under 28 U.S.C. § 1367 because they arise from the same facts as her

11   federal claim.

12         5.     Venue is proper in this judicial district because the relevant events

13   occurred in Los Angeles County and the individual parties reside in Los Angeles

14   County.

15                                           Parties

16         6.     Plaintiff Preeti is a person living in Los Angeles, CA.

17         7.     Preeti has no last name. Preeti is originally from Sirsa, a city in the

18   Indian state of Haryana. There, some young women do not take their parents’ last

19   names, instead going without until they marry.

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     COMPL. & JURY DEMAND - 2
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1          8.     Defendant Rochelle H. Sterling is a person living in California. She

2    is the sole trustee of the Sterling Family Trust, dated August 13, 1998, as re-stated

3    on December 18, 2013 (“Sterling Family Trust”). Sterling is sued solely in her

4    capacity as trustee.

5          9.     Defendant Sterling Family Trust is a California trust.

6          10.    Defendant Beverly Hills Properties, LLC, is a California limited-

7    liability company.

8          11.    Defendant James Shin is an individual living in California.

9                                         Allegations

10                              The Wilshire Berendo Towers

11         12.    The Wilshire Berendo Towers is a residential apartment building.

12         13.    It is located at 330 South Berendo Street in Los Angeles.

13         14.    It has about 80 rental units.

14         15.    At all relevant times, the Sterling Family Trust has owned the

15   Wilshire Berendo Towers.

16         16.    Beverly Hills Properties is a property management company.

17         17.    At all relevant times, the Sterling Family Trust has had Beverly Hills

18   Properties manage the Wilshire Berendo Towers.

19         18.    James Shin works for Beverly Hills Properties.

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     COMPL. & JURY DEMAND - 3
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1          19.   At all relevant times, Beverly Hills Properties employed Shin as a

2    property manager at the Wilshire Berendo Towers.

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     COMPL. & JURY DEMAND - 4
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1                               Tenant Complaints About Shin

2          20.    On February 1, 2023, a woman left an online review of the Wilshire

3    Berendo Towers, complaining about James Shin.

4          21.    Before leaving that online review, the woman had called and left

5    messages for Beverly Hills Properties complaining about Shin.

6          22.    The woman later updated her online review, adding that Shin had

7    called her a “Spicy Latina.”

8          23.    On April 11, 2023, another woman complained to the Los Angeles

9    Housing Department about Shin’s aggressive behavior toward her and her family.

10         24.    On May 15, 2023, another person left an online review of the Wilshire

11   Berendo Towers also complaining about Shin.

12         25.    On information and belief, Beverly Hills Properties was aware of

13   these or similar complaints about Shin’s behavior toward tenants and, in particular,

14   female tenants.

15         26.    On information and belief, Beverly Hills Properties, chose to do

16   nothing to train or discipline Shin with respect to his treatment of tenants,

17   including and in particular female tenants.

18         27.    Beverly Hills Properties had good reason to attend to tenant

19   complaints, having settled a sweeping housing discrimination case with the United

20   States of America years before.
     COMPL. & JURY DEMAND - 5
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1            28.   As part of that settlement, Beverly Hills Properties was required to

2    implement various anti-discrimination trainings and programs and pay over $2

3    million.

4                       Preeti Comes To The Wilshire Berendo Towers

5            29.   After moving from her hometown in India to Los Angeles to attend

6    college, Preeti and a friend rented an apartment at the Wilshire Berendo Towers.

7            30.   Preeti and her roommate signed their lease on or around March 8,

8    2023.

9            31.   At one of their first meetings, Shin told Preeti that if he was younger,

10   he would date her. He also complimented her appearance.

11                                     Shin Tricks Preeti

12           32.   After Preeti moved into the Wilshire Berendo Towers, she started

13   seeing Shin when she left and returned to the building through the main door.

14           33.   Shin’s office in the building was near the main door.

15           34.   When he saw her, Shin would ask Preeti for hugs and ask her to go on

16   walks with him.

17           35.   After saying no many times, Preeti began to feel bad.

18           36.   After Shin made it sound as though his wife would accompany them,

19   Preeti agreed to meet Shin later to go on a walk.

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     COMPL. & JURY DEMAND - 6
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1             37.    When Preeti met Shin at the agreed time and place, his wife was not

2    there.

3             38.    Preeti was surprised but did not feel comfortable backing out.

4             39.    Shin ushered her into his car, which scared Preeti; she had thought

5    they would just walk in the area around the building.

6             40.    When Preeti got in the car, Shin insisted on holding her hand.

7             41.    Shin took her somewhere for a short walk and then drove her back to

8    the building.

9                                  Shin Locks Preeti In His Office

10            42.    Preeti tried to avoid Shin after the walk.

11            43.    But a few weeks later the ceiling in the bedroom of her apartment

12   collapsed due to water damage.

13            44.    When their monthly rent for April became due many days later and

14   the ceiling had not been repaired, Preeti and her roommate decided not to pay their

15   rent.

16            45.    A few days later, Preeti found a three-day notice to pay rent or quit

17   taped on her door.

18            46.    This situation forced her to interact with Shin.

19            47.    On May 2, 2023, Preeti met with Shin in his office.

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     COMPL. & JURY DEMAND - 7
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1          48.    After Preeti entered the office and sat down in a chair, Shin locked the

2    office door behind her.

3          49.    Then, rather than sit behind his desk, Shin sat in a chair facing Preeti.

4          50.    Shin maneuvered his chair so that one of his legs was between Preeti’s

5    legs and he touched her leg.

6          51.    Preeti was scared.

7          52.    Shin asked Preeti what she would do for him if he helped her with her

8    housing situation.

9          53.    Shin said that, if Preeti wanted his help, then she needed to “get

10   physical” with him.

11         54.    Preeti understood that Shin meant sex.

12         55.    Shin explained that he wanted Preeti to be “his girl” and “go on a

13   date” with him, after which they would “get physical.”

14         56.    After that, Shin said, he would help her with the rental situation.

15         57.    Shin said that he would give Preeti a few days to decide whether to

16   take his offer.

17         58.    After leaving Shin’s office, Preeti was shaken.

18         59.    She told her friends what Shin had proposed.

19               Preeti Records Shin When He Locks Her In His Office Again

20         60.    One of Preeti’s male friends tried to talk to Shin on Preeti’s behalf.
     COMPL. & JURY DEMAND - 8
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1           61.    Shin told the friend that Shin would help Preeti with her rental

2    situation but that Preeti needed to come see him alone.

3           62.    Preeti did not want to go see Shin again, much less see him alone, but

4    she also did not want to get evicted.

5           63.    One of Preeti’s friends suggested that she record Shin, so Preeti turned

6    on an audio recording app on her phone and went to Shin’s office.

7           64.    Shin once again locked the office door behind Preeti.

8           65.    He came up close to her and she started crying.

9           66.    He told her not to cry.

10          67.    He tried to kiss her, and he touched her body.

11          68.    Shin told her not to listen to her friends, and to listen to him instead.

12          69.    Shin told Preeti that she was his “girl” and his “baby.”

13          70.    Shin told Preeti, “You know I like you, right?”

14          71.    Shin again told Preeti that she needed to “get physical” with him, but

15   that she could do it later.

16          72.    Preeti cried and protested throughout the encounter.

17          73.    Preeti left Shin’s office and walked back to her apartment where her

18   friends were.

19          74.    When she entered her apartment, she broke into sobs.

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     COMPL. & JURY DEMAND - 9
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1           75.    She told her friends that Shin had tried to kiss her and that he had

2     touched her body.

3                                 Preeti Finds Shin At Her Door

4           76.    A few days later, Preeti went to Shin’s office again, this time with a

5     friend, to try to pay her back rent. Shin would not accept it.

6           77.    Shortly after, Preeti was alone in her apartment.

7           78.    Preeti opened her apartment door, which opened into a common

8     hallway, to head out.

9           79.    As soon as she opened the door, she saw Shin.

10          80.    Shin was standing at her door with a key in his hand and his hand

11    extended toward her door.

12          81.    Preeti was terrified.

13          82.    Shin demanded to know why Preeti had brought her friend with her to

14    try to pay the rent earlier. He instructed her, “Tomorrow you come alone.”

15                                 Preeti Leaves The Building

16          83.    Because of Shin’s harassment, Preeti left the Wilshire Berendo

17    Towers and, with the help of her friends, found a lawyer.

18          84.    Shin’s harassment has caused Preeti mental and emotional pain and

19    suffering that is reasonably likely to continue into the foreseeable future. She has

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      COMPL. & JURY DEMAND - 10
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1     developed trouble sleeping and has had headaches. And her social life and

2     schoolwork have suffered.

3                                        Claims for Relief

4                               Count 1 – Federal Fair Housing Act

5                                      Against All Defendants

6           85.      Preeti incorporates all other allegations here.

7           86.      Defendants injured Preeti by committing discriminatory housing

8     practices in violation of the federal Fair Housing Act, including:

9                 a. Quid pro quo harassment based on sex, 42 U.S.C. § 3604(b), 42

10                   U.S.C. § 3604(c), 24 C.F.R. § 100.600(a)(1);

11                b. Hostile environment harassment based on sex, 42 U.S.C. § 3604(b),

12                   42 U.S.C. § 3604(c), 24 C.F.R. § 100.600(a)(2); and

13                c. Discriminatory statements indicating an intention to discriminate

14                   based on sex and a preference based on sex, 42 U.S.C. § 3604(c).

15          87.      Preeti is therefore entitled to compensatory damages, punitive

16    damages, declaratory relief, attorneys’ fees and costs. 42 U.S.C. § 3613(c).

17          88.      Each Defendant is directly liable or vicariously liable for the

18    discriminatory housing practices alleged here. Meyer v. Holley, 537 U.S. 280, 285

19    (2003), 24 C.F.R. § 100.7.

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      COMPL. & JURY DEMAND - 11
     Case 2:23-cv-10061-RAO        Document 1   Filed 11/29/23   Page 12 of 16 Page ID #:12




1                  Count 2 – California Fair Employment and Housing Act

2                                     Against All Defendants

3           89.   Preeti incorporates all other allegations here.

4           90.   Defendants injured Preeti by committing unlawful housing practices

5     in violation of the California Fair Employment and Housing Act, Cal. Gov. Code §

6     12955; Cal. Gov. Code § 12955.6.

7           91.   Preeti is therefore entitled to compensatory damages, punitive

8     damages, declaratory relief, attorneys’ fees and costs. Cal. Gov. Code § 12989.1;

9     Cal. Gov. Code § 12989.2.

10          92.   Each Defendant is directly liable or vicariously liable for the unlawful

11    housing practices alleged.

12                                     Count 3 - Negligence

13                            Against All Defendants Except Shin

14          93.   Preeti incorporates all other allegations here.

15          94.   Each Defendant other than Shin owed a duty to hire, train, supervise,

16    and discipline its property management staff, including Shin, to prevent

17    mistreatment of tenants, including sexual harassment.

18          95.   Each Defendant other than Shin breached at least one of those duties,

19    causing Shin’s harassment of Preeti.

20          96.   Those breaches caused Preeti’s injuries, as alleged above.
      COMPL. & JURY DEMAND - 12
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1           97.    Preeti is therefore entitled to compensatory and punitive damages.

2                                      Count 4 – Assault

3                                    Against All Defendants

4           98.    Preeti incorporates all other allegations here.

5           99.    Shin repeatedly put Preeti in imminent fear of an offensive,

6     unreasonable, unconsented, and unpermitted touching.

7           100. Each Defendant is directly liable or vicariously liable for that conduct.

8           101. That conduct injured Preeti.

9           102. Preeti is therefore entitled to compensatory and punitive damages.

10                                      Count 5 – Battery

11                                   Against All Defendants

12          103. Preeti incorporates all other allegations here.

13          104. Shin battered Preeti by repeatedly making offensive and harmful

14    contact with her, he intended to do so, and she did not consent nor was the contact

15    permitted.

16          105. Each Defendant is directly liable or vicariously liable for that conduct.

17          106. That conduct injured Preeti.

18          107. Preeti is therefore entitled to compensatory and punitive damages.

19

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      COMPL. & JURY DEMAND - 13
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1                                 Count 6 – False Imprisonment

2                                       Against All Defendants

3           108. Preeti incorporates all other allegations here.

4           109. Shin used his body, manner, and physical surroundings to prevent

5     Preeti from moving freely without lawful authority or Preeti’s consent when he

6     twice locked her in his office.

7           110. Each Defendant is directly liable or vicariously liable for that conduct.

8           111. That conduct injured Preeti.

9           112.    Preeti is therefore entitled to compensatory and punitive damages.

10                             Count 7 – Unruh Civil Rights Act

11                                      Against All Defendants

12          113. Preeti incorporates all other allegations here.

13          114. The Unruh Civil Rights prohibits discrimination based on sex in the

14    residential rental property business. Cal. Civ. Code § 51.

15          115. Whoever discriminates in violation of the Act is liable for up to treble

16    damages. Cal. Civ. Code. § 52(a).

17          116. Shin discriminated based on sex within the meaning of the Unruh Act

18    by sexually harassing Preeti.

19          117. The other Defendants are vicariously liable for Shin’s conduct.

20          118. Each Defendant is therefore liable under the Act to Preeti.
      COMPL. & JURY DEMAND - 14
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1                                 Count 8 – Cal. Civ. Code § 51.9

2                                     Against All Defendants

3           119. Preeti incorporates all other allegations here.

4           120. Cal. Civ. Code § 51.9 prohibits sexual harassment by landlords and

5     property managers.

6           121. Whoever violates § 51.9 is liable for damages, exemplary damages,

7     attorneys’ fees and a civil penalty of $25,000. Cal. Civ. Code. § 52(b).

8           122. Shin sexually harassed Preeti in violation of § 51.9.

9           123. The other Defendants are vicariously liable for Shin’s conduct.

10          124. Each Defendant is therefore liable under the Act to Preeti.

11                                        Jury Demand

12          Preeti demands a jury trial under Rule 38 of the Federal Rules of Civil

13    Procedure.

14                                      Prayer for Relief

15          125. Preeti prays for a judgment with the following relief:

16             a. Compensatory damages,

17             b. Punitive damages,

18             c. Attorneys’ fees and costs,

19             d. Pre- and post- judgment interest,

20             e. Declaratory relief, and
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1           All other relief that the court finds just.

2     Dated: November 29, 2023
                                                   Respectfully submitted,
3
                                                     /s/ Thomas R. Kayes
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      COMPL. & JURY DEMAND - 16
